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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,           )
                                        )
                                        )
             Plaintiffs,                )
                                        )
                                        )
vs.                                     )   No. 1:17-cv-00365-DAE-AWA
                                        )
                                        )
GRANDE COMMUNICATIONS                   )
NETWORKS LLC,                           )
                                        )
             Defendant.
                                        )

          DEFENDANT GRANDE COMMUNICATIONS NETWORKS, LLC’S
                 MOTION TO EXCLUDE PROPOSED EXPERT
                    TESTIMONY OF WILLIAM H. LEHR
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       Pursuant to Federal Rule of Evidence 702, Defendant Grande Communications

Networks, LLC (“Grande”) moves to exclude the proposed testimony of Dr. William H. Lehr,

who intends to provide generalized testimony about the music industry, the harms caused by

media piracy, and the purported value of alleged “repeat infringer” subscribers—untethered from

any of the specific facts and issues in this case. In BMG Rights Management (US) LLC v. Cox

Communications, Inc. (“Cox”), the district court excluded Dr. Lehr’s proposed testimony on

nearly all of the same issues he intends to address in this case. See Order at 1, No. 1:14-cv-1611

(E.D. Va. Nov. 25, 2015) (hereinafter, “Cox Daubert Order”) (Ex. 5).

       The problems with Dr. Lehr’s proposed testimony are legion. Most significantly, Dr.

Lehr seeks to offer artificially-inflated and facially irrelevant opinions about Grande’s economic

incentives to permit repeat copyright infringement—i.e., the “lifetime value” to Grande of

alleged “repeat infringers.” To arrive at astronomical figures ranging from $50 million to more

than $100 million, Dr. Lehr does not limit his “analysis” to the copyright holders, copyrights,

and instances of alleged infringement that are actually at issue in this case, but instead calculates

the purported lifetime value of virtually every Grande subscriber who has ever been accused of

copyright infringement more than one time. Dr. Lehr also ventures well outside his expertise

and the evidence in this case, by seeking to opine on the economics of the music industry, the

harms caused by all types of media piracy, and the supposed public policy benefits of imposing

copyright infringement liability on Grande.

       For the foregoing reasons, as discussed in detail below, the Court should exclude all of

Dr. Lehr’s proposed expert testimony as irrelevant, unreliable, and otherwise inadmissible under

Federal Rule of Evidence 702 and Daubert.



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                                       LEGAL STANDARD

        Daubert v. Merrell Dow Pharmaceuticals, Inc. provides the analytical framework for

determining whether expert testimony is admissible under Federal Rule of Evidence 702. 509

U.S. 597 (1993). In Daubert, the Supreme Court emphasized that district courts are assigned a

“gatekeeping role” with respect to the admissibility of expert testimony. Daubert thus entrusts

the district court with “the task of ensuring that an expert’s testimony both rests on a reliable

foundation and is relevant to the task at hand.” 509 U.S. at 597. For expert testimony to be

reliable, it must (1) be “based on sufficient facts or data,” (2) be “the product of reliable

principles and methods,” and (3) have “reliably applied the principles and methods to the facts of

the case.” Fed. R. Evid. 702. For expert testimony to be relevant, it must “assist the trier of fact

to understand the evidence or to determine a fact in issue.” Daubert, 509 U.S. at 591 (quoting

Fed. R. Evid. 702).

                                           ARGUMENT

  I.    THE COURT SHOULD PRECLUDE DR. LEHR FROM TESTIFYING ABOUT
        THE VALUE OF GRANDE INTERNET SUBSCRIBERS

        Section VII of Dr. Lehr’s initial report includes two calculations that purport to quantify

the “lifetime value” of an individual Grande high-speed Internet subscriber—one calculation

based on Grande’s alleged gross margins, and another based on the price for which Grande was

acquired in 2017. Lehr Report, ¶¶ 27-35 & Ex. 11, ¶¶ 36-37 & Ex. 12 (Ex. 1). This is nothing

more than a transparent attempt by Plaintiffs to present the jury with large dollar figures in a

quest for a damages award that has no relationship to the facts of this case and no support in the

law. Indeed, Dr. Lehr repeatedly conceded that he is not offering any opinion on copyright

infringement damages. See Lehr Dep. Tr. 17:22-23 (“There is no specific definition of the

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damages that I believe are the right number.”), 73:15-17 (“I don’t think that it’s feasible to

estimate the specific harm to – to a rights holder.”), 198:3-10 (“I believe that my understanding

of the Rightscorp data doesn’t allow you to understand the entirety of the actual infringing

activity, and, you know, because it doesn’t allow me to do that, it doesn’t allow me to then

basically develop a reasonable estimate of what the economic harm or lost sales are . . . .”) (Ex.

4). Dr. Lehr’s opinions will only serve to confuse and mislead the jury.

       Dr. Lehr’s calculation of lifetime subscriber value based on gross margins is irrelevant

and unreliable because it is artificially inflated with revenues from cable television and phone

services. See Lehr Report, ¶¶ 31-35 (Ex. 1); Lehr Dep. Tr. 115:5-21 (Ex. 4). To the extent

Plaintiffs might seek disgorgement of Grande’s profits as damages, Plaintiffs cannot credibly

contend that revenues Grande earned from cable television and voice services are “attributable to

the infringement.” 17 U.S.C. § 504(b). Dr. Lehr offers no legal or evidentiary basis for tying

such revenues to the infringement at issue in this case. See MGE UPS Sys., Inc. v. GE Consumer

& Indus., Inc., 622 F.3d 361, 367 (5th Cir. 2010) (“In meeting its initial burden [under § 504(b)],

. . . a copyright holder must show more than the infringer’s total gross revenue from all its profit

streams. Rather, ‘gross revenue’ refers only to revenue reasonably related to the infringement.”)

(emphasis in original) (quotations, citations, & alterations omitted).

       Dr. Lehr’s calculation of lifetime subscriber value based on the acquisition price paid for

Grande in 2017 should be excluded for the same reasons. See Lehr Report, ¶¶ 36-37 (Ex. 1).

Additionally, this calculation is even more inflated and unreliable because it assumes that 100%

of the acquisition price is attributable to the value of subscribers. Dr. Lehr simply took the

acquisition price and divided it by the total number of Grande’s subscribers. Lehr Report, ¶ 37

& Ex. 12 (Ex. 1). Dr. Lehr acknowledges that all of Grande’s assets were included in the
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transaction, but he made no attempt to segregate the value of those assets. See id.; see also Lehr

Dep. Tr. 124:7-125:12 (Ex. 4). And finally, Dr. Lehr seeks to present this calculation with

reference to the prices paid to acquire other multiple system operators (“MSOs”)—irrelevant

information that is clearly just another attempt to present large dollar figures to the jury. See

Lehr Report, Ex. 12 (Ex. 1).

           The Court should therefore exclude the opinions in Section VII of Dr. Lehr’s report.

    II.    THE COURT SHOULD PRECLUDE DR. LEHR FROM TESTIFYING ABOUT
           GRANDE’S ALLEGED INCENTIVES TO ALLOW INFRINGING ACTIVITY
           ON ITS NETWORK

           In Section VIII of Dr. Lehr’s report, he purports to offer opinions about the economic

incentives to Grande of permitting alleged “repeat infringers” to remain subscribers, based on the

“lifetime value” calculations discussed in the preceding Section. In other words, Dr. Lehr seeks

to opine on the total value to Grande of its alleged “repeat infringer” subscribers. The Cox court

excluded Dr. Lehr’s opinions on these purported “economic incentives.” See Cox Daubert Order

at 1 (Ex. 5) (“[Dr. Lehr] is not to opine on Cox’s incentives to permit infringement or the

economic benefit of infringement.”). The Court should do the same here.

           The first and most glaring flaw is that Dr. Lehr’s calculations expressly include alleged

repeat infringers of copyrights not at issue in this case. In identifying “repeat infringers,” Dr.

Lehr does not rely on the copyrights and Rightscorp notices at issue in this case, but instead

expressly bases his opinions on every notice of alleged infringement that Grande forwarded to a

subscriber, from any rights-holder or other third party.1 Lehr Report, ¶ 41 (“[T]hese data




1   Dr. Lehr also improperly employs a December 30, 2013 to May 20, 2018 time period (Lehr
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represent letters sent to Grande subscribers on the basis of DMCA notices received from multiple

different rights holders and/or their agents, and appear to be related to many different works (i.e.,

the data are not limited to Rightscorp notices or to the specific works in this suit.”) (emphasis

added) & Ex. 13 (Ex. 1); Lehr Dep. Tr. 139:20-24, 142:16-143:19 (confirming same), 141:21-

142:3 (calculations include notices of alleged infringement for all types of media) (Ex. 4).2

       Including irrelevant copyright owners and works not in suit enables Dr. Lehr to generate

astronomical numbers—ranging from $50 million to over $100 million—that plainly have no

bearing on the copyright infringement alleged in this case.3 See Lehr Report, ¶ 43. Indeed, Dr.

Lehr admitted that his opinions on this subject are not affected by the number or nature of the

copyrights asserted in this case, and that his opinions therefore would not change even if

Plaintiffs were only alleging infringement of one copyright. Lehr Dep. Tr. 159:6-161:23 (Ex. 4).

       Second, Dr. Lehr should not be permitted to testify or otherwise offer opinions about

what constitutes “repeat infringement.” Like many of Plaintiffs’ other experts, Dr. Lehr




Report, Ex. 13), which goes beyond the three-year look-back period for copyright infringement
damages. See Grande’s Mot. for Summ. J. at 18 (ECF No. 140).
2Dr. Lehr admits that he lacks any knowledge or information regarding how third-party
monitoring companies might go about detecting alleged copyright infringement. Lehr Dep. Tr.
140:18-141:20.
3 Dr. Lehr’s unsound and litigation-driven methodology hugely inflates the volume of alleged
“repeat infringement.” Dr. Lehr provides two different “repeat infringer” calculations: one for
subscribers who were the subject of two or more allegations of infringement, and another for
subscribers who were the subject of three or more allegations. Lehr Report, Ex. 13 (Ex. 1). One
of Plaintiffs’ other proposed experts, Dr. Bardwell—whose testimony should be excluded for
different reasons—looked solely at Rightscorp notices and identified a number of alleged repeat
infringers that is only a small fraction of what Dr. Lehr intends to testify to. Bardwell Report,
Table 3 (ECF No. 210-2).

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improperly seeks to testify about “repeat infringement” without any legal or factual basis for

doing so. Indeed, he disclaims any ability or intention to offer opinions on “infringement” (Lehr

Dep. Tr. 126:4-127:23), but that is plainly the import of his proposed opinions. The definitions

of “repeat infringer” and “repeat infringement” are questions for the Court, and Dr. Lehr’s

opinions characterizing Grande subscribers as “repeat infringers” are therefore inadmissible legal

conclusions. See Grande’s Mot. to Exclude Bardwell at 2-4 (collecting cases) (ECF No. 210).

       Third, Dr. Lehr’s proposed opinions are irrelevant and will confuse the jury because he

seeks to equate a failure to terminate subscribers with secondary copyright infringement liability.

The premise of Dr. Lehr’s opinions on Grande’s economic incentives to permit infringement is

that Grande had two options: (1) terminate the accounts of alleged “repeat infringers” or (2)

permit repeat infringement, and therefore face liability. This premise is factually unsupported

and unsupportable, and contrary to law. While the DMCA safe harbors in 17 U.S.C. § 512

require a policy for terminating repeat infringers, there is no authority imposing a duty to

terminate subscribers as a matter of contributory liability. As detailed in the pending summary

judgment briefing, contributory liability requires that the defendant induced or encouraged direct

copyright infringement, or supplied a product or service lacking any substantial non-infringing

uses. See, e.g., Grande’s Reply in Supp. of Mot. for Summ. J. at 16-19 (ECF No. 201). Dr.

Lehr’s opinions are simply another vehicle for Plaintiffs to attempt to muddle and confuse the

safe harbor standard with the contributory infringement standard.

       Fourth, Dr. Lehr’s opinions are unsound and unreliable because his calculations include

the entire “lifetime” value of alleged repeat infringers, without regard to the timing of any

alleged infringement. In other words, even assuming Grande had an affirmative duty to

terminate repeat infringers, that duty could only arise once the subscriber engaged in repeat
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infringement. However, Dr. Lehr assumes—without any evidentiary support, and contrary to

common sense—that any alleged repeat infringer never would have become a Grande subscriber

in the first place. See Lehr Dep. Tr. 118:4-22 (Ex. 4); Lehr Report, ¶¶ 27-43 & Ex. 13 (Ex. 1).

        Fifth, and finally, Dr. Lehr has not conducted an analysis of Grande’s operations that

would permit him to offer expert testimony on Grande’s economic incentives to allow

infringement on its network. In deposition, Dr. Lehr admitted that Grande may actually lose

money from subscribers who engage in repeat infringement, due to lost revenue from pirated

video content. Lehr Dep. Tr. 163:8-164:23 (Ex. 4). Dr. Lehr also acknowledged that Rightscorp

has taken the position that repeat infringer traffic slows Grande’s network. Id. at 167:14-168:12.

In short, Dr. Lehr has not conducted any reliable or rigorous analysis into Grande’s economic

incentives regarding copyright infringement by subscribers. His opinions are entirely litigation-

driven and divorced from the evidence in this case.

        For the foregoing reasons, the Court should preclude Dr. Lehr from offering the opinions

set forth in Section VIII of his report.

III.    THE COURT SHOULD PRECLUDE DR. LEHR FROM TESTIFYING ABOUT
        THE ECONOMICS OF THE MUSIC INDUSTRY AND THE GENERAL HARMS
        CAUSED BY MEDIA PIRACY

        Sections V and VI of Dr. Lehr’s report contain general discussion about the economics of

the music industry and the general harm to copyright holders from media piracy. Lehr Report at

5-9 (Ex. 1). Dr. Lehr offers these opinions without having a modicum of music industry

experience and through improper generalization that is unrelated to the facts of this case. The

Court should therefore preclude Dr. Lehr from testifying about these subjects.




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       As a preliminary matter, Dr. Lehr’s proposed testimony about the harm to copyright

holders is essentially identical to proposed testimony excluded by the district court in Cox.4 See

Cox Daubert Order at 1 (Ex. 5); June 19, 2015 Lehr Report (hereinafter, “Lehr Cox Report”) at

4-6 (Ex. 3). The same result should follow here.

       Generalized testimony about the music industry and piracy is irrelevant. Dr. Lehr also is

not qualified to testify to a jury about the economics of the music industry or the effects of media

piracy because he does not have any relevant expertise or experience concerning the music

industry. See Lehr Report, Appx. A (Ex. 1); Lehr Dep. Tr. 34:4-16 (Ex. 4). Dr. Lehr simply

does not have the “scientific, technical, or specialized knowledge” to offer testimony about the

music industry or the effects of worldwide media piracy. See Fed. R. Evid.702; see also

Loussier v. Universal Music Grp., Inc., No. 1:02-cv-02447, 2005 WL 5644422, at *3 (S.D.N.Y.

Jun. 28, 2005) (excluding expert testimony relating to a copyrighted musical composition

because neither the expert’s C.V. nor her report indicated that she had any relevant music

industry experience). Indeed, Dr. Lehr’s proposed testimony is based entirely on third-party

literature—not on any of his own qualifications, expertise, or research. See Newton v. Roche

Labs., Inc., 243 F. Supp. 2d 672, 678 (W.D. Tex. 2002) (Austin, Mag. J.) (“O’Donnell has no

relevant expertise regarding [the subject matter] outside of that which he has gleaned from a

scant literature review for the purpose of consulting and testifying in this case.”).

       Dr. Lehr also admits that his entire discussion about the harm from piracy depends on

third-party literature about piracy in general—it does not even relate to the piracy of sound




4 In Cox, Dr. Lehr did not even attempt to offer testimony about the economics of the music
industry, a subject in which he plainly lacks any relevant expertise, qualifications, or knowledge.
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recordings. See Lehr Report, ¶¶ 19-24 (Ex. 1); Lehr Dep. Tr. 75:18-76:14 (Ex. 4). Dr. Lehr’s

proposed testimony about the economics of the music industry is similarly untethered to the facts

of this case. Lehr Report, ¶¶ 15-18 (Ex. 1). On both subjects, Dr. Lehr does not rely on any

evidence produced in this case, and he admits that he did not speak to any Plaintiff

representatives in developing his proposed opinions. Lehr Report, ¶¶ 15-26 & Appx. B (Ex. 1);

Lehr Dep. Tr. 26:2-13 (Ex. 4).

        In addition, Dr. Lehr admitted that his generalized testimony about piracy harm does not

pertain to any particular copyright at issue in this case. Lehr Dep. Tr. 9:20-10:19 (Ex. 4). Dr.

Lehr’s report fails to discuss or analyze any of the asserted copyrights in this case. See generally

Lehr Report (Ex. 1). Furthermore, the literature he consulted in rendering his proposed opinions

does not relate to the harm caused by copyright infringement, only the harm caused by piracy

generally. Lehr Dep. Tr. 76:15-77:20 (Ex. 4).

        Finally, it bears emphasizing that Dr. Lehr’s generalized testimony is not a damages

assessment. As noted, Dr. Lehr has repeatedly conceded that he is not offering an opinion on

damages. See, e.g., Lehr Dep. Tr. 17:22-23, 73:15-17, 198:3-10 (Ex. 4). Dr. Lehr also admitted

that he did not actually analyze Plaintiffs’ revenues to determine how they changed over time,

and that it was possible that Plaintiffs’ revenues could have actually gone up at times over the

relevant time period. Id. at 55:5-17.

        Accordingly, the Court should preclude Dr. Lehr from offering any testimony about the

general economics of the music industry or harms caused by media piracy.

IV.     THE COURT SHOULD PRECLUDE DR. LEHR FROM TESTIFYING ABOUT
        PUBLIC POLICY

        Section IX of Dr. Lehr’s report includes discussion about the purported public policy

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benefits that would result from imposing broader copyright infringement liability on third parties

like Grande. Lehr Report, ¶¶ 44-51 (Ex. 1). The Cox court precluded Dr. Lehr from offering

essentially identical opinions in that case. See Cox Daubert Order at 1 (Ex. 5); Lehr Cox Report

at ¶¶ 40-46 (Ex. 1). As detailed above, Dr. Lehr is not qualified to testify to a jury about these

public policy benefits because he does not have any education or experience in the music

industry. Furthermore, this proposed testimony is wholly unrelated to the specific facts of this

case, and instead improperly seeks to bias the jury in favor of copyright owners and the music

industry. Dr. Lehr’s public policy opinions are nothing more than expert ipse dixit, lacking even

a tenuous connection to the facts of this case.

 V.     DR. LEHR’S REPLY REPORT SUFFERS FROM THE SAME DEFICIENCIES
        AS HIS INITIAL REPORT AND IS IMPROPER REBUTTAL

        The opinions and analysis set forth in Dr. Lehr’s reply report should be excluded for the

reasons discussed in the preceding Sections. See generally Lehr Reply Report (Ex. 2).

Additionally, Dr. Lehr’s reply opinions are improper to the extent he seeks to offer additional

support for opinions expressed in his opening report, based on previously-available information.

Lehr Dep. Tr. 180:3-183:15 (Ex. 4). Furthermore, to the extent Dr. Lehr seeks to “rebut” the

opinions of Grande’s damages expert, Mr. Kemmerer, these opinions are similarly improper

because they all relate to issues that Dr. Lehr could have addressed in his opening report. See,

e.g., Grande’s Mot. to Strike Frederiksen-Cross Sur-Rebuttal at 5-6 (collecting cases) (ECF No.

176). The Court should therefore exclude all of this proposed expert testimony.

                                         CONCLUSION

        For the foregoing reasons, the Court should grant Grande’s Motion and exclude the

proposed expert testimony of Dr. William H. Lehr.

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Dated: November 28, 2018


                                         By: /s/ Zachary C. Howenstine
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on November 28, 2018, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via

the Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).


                                            /s/ Zachary C. Howenstine
                                            Zachary C. Howenstine




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